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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



  NANCY GIMENA HUISHA-HUISHA, on behalf of
  herself and others similarly situated,

                                Plaintiffs,

                 v.
                                                           Civil Action No. 21-100 (EGS)
  ALEJANDRO MAYORKAS, Secretary of
  Homeland Security, et al,


                                Defendants.




 EMERGENCY MOTION OF THE STATES OF ARIZONA, LOUISIANA, ALABAMA,
 ALASKA, KANSAS, KENTUCKY, MISSISSIPPI, NEBRASKA, OHIO, OKLAHOMA,
 SOUTH CAROLINA, TEXAS, VIRGINIA, WEST VIRGINIA, AND WYOMING FOR
    EXPEDITED BRIEFING AND CONSIDERATION OF THEIR MOTION TO
            INTERVENE AND FOR A STAY PENDING APPEAL

       Pursuant to 28 U.S.C. § 1657(a), the States of Arizona, Louisiana, Alabama, Alaska,

Kansas, Kentucky, Mississippi, Nebraska, Ohio, Oklahoma, South Carolina, Texas, Virginia, West

Virginia, and Wyoming (“States”) hereby respectfully move for expedited briefing and

consideration of their concurrently filed Motion to Intervene. The States propose, and Plaintiffs

and Federal Defendants have agreed to, the following schedule:

       States’ Motion to Intervene and for Stay:             November 21, 2022

       Plaintiffs’ and Defendants’ Response Due:             November 29, 2022, 8 p.m. EST

       States’ Reply in Support of Intervention:             December 2, 2022, noon EST

       The States have conferred with Plaintiffs and Defendants, who each oppose intervention,

although they have each agreed to this schedule.
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       Expedited briefing is appropriate here because, as set forth in the States’ motion to

intervene, they will suffer irreparable harm from the impending Termination of Title 42—which

is currently set to take effect on December 21. Expedition is necessary to ensure that the States’

motion to intervene is decided in advance of that date, and with sufficient time for the States to

seek an emergency stay pending appeal from the D.C. Circuit and, if necessary, an emergency stay

pending certiorari from the Supreme Court.

       The States, Plaintiffs, and Federal Defendants have all agreed upon the schedule set forth

above, and good cause supports entry of it. The States therefore respectfully request that this Court

grant this motion to expedite and enter the agreed-upon schedule.



Dated: November 21, 2022                         Respectfully submitted,

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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLUMBIA



  NANCY GIMENA HUISHA-HUISHA, on behalf of
  herself and others similarly situated,

                               Plaintiffs,                NO: Civil Action No. 21-100 (EGS)

                v.
                                                          Hon. Emmet G. Sullivan
  ALEJANDRO MAYORKAS, Secretary of
  Homeland Security, et al,                               Oral Argument Requested


                               Defendants.


                                    PROPOSED ORDER

The Matter came before the Court on November 21, 2022 on the Intervenor States’ Emergency

Motion for Expedited Briefing and Consideration of their Motion to Intervene and for a Stay

Pending Appeal. The Court being fully advised in the premises, IT IS HEREBY ORDERED

that Plaintiff’s Motion is GRANTED. Response and Reply briefing on Intervenor States’

Motion to Intervene and for a Stay Pending Appeal shall be according to the following schedule:

       Plaintiffs’ and Defendants’ Response Due:       November 29, 2022, 8p.m. EST

       States’ Reply in Support of Intervention:       December 2, 2022, noon EST

IT IS SO ORDERED.

                                                   ENTERED:

                                                   By the Court:

Date:________________                              ___________________________________
                                                   Hon. Emmet G. Sullivan
                                                   United States District Judge
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 21, 2022, I electronically transmitted the attached

document to the Clerk’s office using CM/ECF System for filing. Notice of this filing is sent by

email to all parties by operation of the Court’s electronic filing system.



                                              s/ Drew C. Ensign
                                              Attorney for the State of Arizona
